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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF PENNSYLVANIA


 IN RE: NATIONAL FOOTBALL LEAGUE No. 2:12-md-02323-AB
 PLAYERS’ CONCUSSION INJURY LITIGATION MDL No. 2323

 Kevin Turner and Shawn Wooden, on behalf
 of themselves and others similarly situated,
                                           Plaintiffs,
             v.
 National Football League and NFL Properties, LLC,
 successor-in-interest to NFL Properties, Inc.,
                                         Defendants.

 THIS DOCUMENT RELATES TO:

 Locks Law Firm
 v.
 SPID 100006036 (M.H.)
 Attorney Lien Dispute
 Case No. 01535


                               EXPLANATION AND ORDER

DAVID R. STRAWBRIDGE
UNITED STATES MAGISTRATE JUDGE                                             July 15, 2021

       Before the Court is a Notice of Attorney’s Lien (“Lien”) and a Petition to Establish

Attorney’s Lien seeking attorney’s fees and costs from any Monetary Claim to be paid to

Settlement Class Member (“SCM”) M.H., who was issued a Notice of Monetary Award Claim

Determination on April 23, 2021. The lien was filed in July 2017 by Locks Law Firm (“Locks”).

The SCM is currently represented by Berkowitz and Hanna LLC (“Berkowitz”).

       The District Court referred all Petitions for individual attorney’s liens to this Magistrate

Judge. (Doc. No. 7746.) Rules Governing Attorneys’ Liens (“Rules”) were adopted on March 6,

2018 and amended on October 3, 2018. (Doc. Nos. 9760 and 10283.) Pursuant to Rule 12, Locks
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and Berkowitz (the “Parties”) were advised of their right to consent to have the Magistrate Judge

issue a final Order to resolve this dispute. The Parties have consented to jurisdiction by a

Magistrate Judge. Accordingly, this Explanation and Order will serve as the final decision of the

Court concerning this attorney lien dispute. 1

       The Parties have reached an agreement as to the allocation of the attorney fee in this case

and submitted Withdrawal of Attorney’s Lien Dispute forms (the “Withdrawal”) pursuant to Rule

24 dated June 16, 2021. The Withdrawal agreement clearly indicates the portion of the Award that

each law firm will receive and sets forth an agreement as to how to disburse any portion of the 5%

holdback that may be released in the future. The agreement was negotiated by law firms that were

informed and concerned about their own interest. Upon review of the Withdrawal and the

contingency fee agreements, and in consideration of the Presumptive Fee Cap (Doc. No. 9863),

we conclude that the fee to be paid to each firm is reasonable, does not exceed the percentage

for which the parties contracted, and that the collective fees are within the percentage allowed

under the 22% Presumptive Fee Cap. Accordingly, we conclude that the Withdrawal should be

granted and that the Claims Administrator should be ordered to distribute the attorneys’ fees to

the parties as set forth in the Withdrawal. 2 We also have reviewed the list of costs submitted by



1
   This decision does not concern the propriety of the Monetary Award to the SCM, which has
already been authorized. Rather, it solely addresses the allocation of the portion of the SCM’s
Monetary Award that was set aside by the Claims Administrator for fees and costs of the SCM’s
individually-retained counsel. It is the SCM’s retention of more than one attorney to represent
him in this matter, and the filing of an attorney’s lien by prior counsel, that has created the need
for this judicial determination of the appropriate fee.
2
   Pursuant to the Court’s Order Regarding Withholdings for Common Benefit Fund (Doc. No.
10104), 5% of the Award is currently being held in the Attorney’s Fees Qualified Settlement Fund,
where it must remain until further order of the Court. The Claims Administrator will ensure that
if any portion of those funds are later released they will be paid pursuant to the agreed terms in the
                                                   2
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Berkowitz and the provisions of its contingent fee agreement that provide for reimbursement of

certain costs. We conclude that Berkowitz is entitled to the costs asserted.


       AND NOW, this 15th       day of July, 2021, it is ORDERED that:

       1. The Withdrawal of the Lien Dispute is GRANTED; and

       2. The Claims Administrator is ORDERED to distribute the withheld funds in

           accordance with this decision, the provisions of the Settlement Agreement, and all

           Court Orders regarding implementation.

                                                     BY THE COURT:



                                                     /s/ David R. Strawbridge, USMJ____
                                                     DAVID R. STRAWBRIDGE
                                                     UNITED STATES MAGISTRATE JUDGE




Withdrawal.

                                                 3
